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EXHIBIT A

Thorne Declaration

[New York #2012597 v1]
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

xX
Inre Chapter 11
Nortel Networks Inc., et al.,° Case No. 09-10138 (KG)
Debtors. Jointly Administered
xX

DECLARATION OF RENE E. THORNE IN SUPPORT OF THE APPLICATION OF
THE DEBTORS PURSUANT TO 11 U.S.C. § 327(e) TO RETAIN AND EMPLOY
JACKSON LEWIS LLP AS COUNSEL FOR THE DEBTORS
NUNC PRO TUNC TO JANUARY 14, 2009

I, René E. Thorne hereby declare under penalty of perjury:

1. Iam the Resident Manager and Partner in the New Orleans office of Jackson
Lewis LLP (“Jackson Lewis”), in its Louisiana office at 650 Poydras Street, Suite 1900, New
Orleans, Louisiana 70130. I am an attorney at law duly admitted and in good standing to
practice in the state of Louisiana, as well as before the courts before the Fifth Circuit Court of
Appeals, Seventh Circuit Court of Appeals, and the United States District Courts, Eastern,
Middle and Western Districts, of Louisiana.

2. I submit this Declaration (the “Declaration”) in connection with the

Application (the “Application”) of Nortel Networks Inc. (““NNI’) and certain of its affiliates,

The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax
identification number, are: Nortel Networks Inc. (6332), Nortel Networks Capital
Corporation (9620), Alteon WebSystems, Inc. (9769), Alteon WebSystems International,
Inc. (5596), Xros, Inc. (4181), Sonoma Systems (2073), Qtera Corporation (0251),
CoreTek, Inc. (5722), Nortel Networks Applications Management Solutions Inc. (2846),
Nortel Networks Optical Components Inc. (3545), Nortel Networks HPOCS Inc. (3546),
Architel Systems (U.S.) Corporation (3826), Nortel Networks International Inc. (0358),
Northern Telecom International Inc. (6286) and Nortel Networks Cable Solutions Inc.
(0567). Addresses for the Debtors can be found in the Debtors’ petitions, which are
available at http://chapter1 1.epiqsystems.com/nortel.

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as debtors and debtors in possession, (collectively, the “Debtors”), in the above-captioned
Chapter 11 cases (the “Cases”) to retain and employ Jackson Lewis as counsel of record to the
Debtors, with respect to the ongoing class action matter entitled In Re Nortel Networks
Corporation ERISA Litigation, No. 3:03-MDL-1537, pending in the Middle District of

Tennessee (the “ERISA Class Action”).

3. All statements made herein are true and correct to the best of our knowledge,
information and belief.

4. At the Debtors’ request, Jackson Lewis proposes to provide legal services
in the ongoing ERISA Class Action. Prior to the Petition Date, Jackson Lewis has advised
and represented the Debtors in this matter. In addition, Jackson Lewis also represents NNL,
NNC and certain former and current Nortel directors and officers in the ERISA Class Action.

5. Jackson Lewis is not being retained, and has not been asked, to provide
advice with respect to the Debtors’ bankruptcy cases.

6. Except as stated herein, to the best of my knowledge, Jackson Lewis, as
well as its partners and associates, (i) except as disclosed herein, does not have any connection
with Debtors or with its creditors or other parties in interest and (ii) does not hold or represent
an interest materially adverse to the estates.

7. I conducted, or caused to be conducted, a search of Jackson Lewis records
regarding active and inactive client files maintained for that purpose for potential adverse
parties. The search demonstrated that Jackson Lewis is not engaged in any matter that would
disqualify it from providing legal services to the Debtors.

8. I have reviewed, or caused to be reviewed, the records of Jackson Lewis to

determine the existence of any interest adverse to the Debtors or which would otherwise
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create a conflict of interest in connection with Jackson Lewis engagement in this matter.
Based upon such review, and except as may be further noted in this Declaration, it is my
belief that Jackson Lewis does not have an interest adverse to the interest of the Debtors, nor
does it have any relationship, direct or indirect with the Debtors or any other party claiming an
interest in the Debtors.

9. Due to the size and diversity of Jackson Lewis’s practice, Jackson Lewis may
have advised, represented, provided services for or otherwise dealt with or may now be advising,
representing, providing services for or otherwise dealing with certain entities or persons (and
their attorneys or accountants or both) who are or may consider themselves to be creditors, equity
security holders, or parties interested in these cases. However, Jackson Lewis is not and will not
advise, represent or provide services for any entity other than Nortel in connection with these

Chapter 11 cases.

10. To the best of my knowledge, information and belief, (a) Jackson Lewis currently
serves as counsel to the entities identified on the schedule annexed hereto as Schedule 1 on matters
unrelated to these Cases; and (b) Jackson Lewis formerly represented those entities on Schedule 2 on

matters unrelated to these cases. To the extent that Jackson Lewis discovers additional
information that it determines should be disclosed, Jackson Lewis will file a supplemental
disclosure with the Court promptly.

11. Other than as set forth herein, Jackson Lewis is neither a creditor of the
Debtors, an equity holder of the Debtors nor an insider of the Debtors.

12. Jackson Lewis rendered pre-petition services to the Debtors for which it
has yet to be paid. The value of such prepetition services is approximately $510,977.00.

Pursuant to Section 329(a) of the Bankruptcy Code, an attorney representing a debtor in

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connection with a pending bankruptcy case shall file a statement with the Court disclosing
payments made to the attorney within one year prior to the petition date. Although Jackson
Lewis does not believe that the services rendered to the Debtors were in connection with this
bankruptcy case, in the interest of full disclosure to the Court, in the one year prior to the
Petition Date, Jackson Lewis received payments from the Debtors for services rendered in the
approximate amount of $816,213.43.

13. Subject to Court approval in accordance with Bankruptcy Code Sections
330 and 331, the Bankruptcy Rules, and the orders and local rules of this Court, the Debtors
propose to pay Jackson Lewis on an hourly basis, plus reimbursement of actual, necessary
expenses incurred by Jackson Lewis on the Debtors’ behalf.

14. Jackson Lewis understands that any compensation and expenses paid to it
must be approved by this Court upon application consistent with the Bankruptcy Code, the
Federal Rules of Bankruptcy Procedure, the Local Rules and the Orders of this Court.

15. Jackson Lewis LLP intends to charge the Debtors’ estates for Jackson
Lewis LLP’s services as follows:

Partners: $485-$525

Associates: $375-$425
Paraprofessionals: $150

These hourly rates are subject to periodic adjustments to reflect economic and other conditions.

16. Jackson Lewis will also seek reimbursement for necessary expenses
incurred, which shall include travel, photocopying, delivery service, postage, vendor charges

and other out of pocket expenses incurred in providing professional services.

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17. Jackson Lewis will comply with all of the requirements of this Court and of
the Bankruptcy Code and Bankruptcy Rules with respect to fee and expense applications of
professionals employed by bankruptcy estates.

18. In the ordinary course of Jackson Lewis’s representation of the Debtors,
Jackson Lewis is compensated and reimbursed for a portion of its services and expenses by
certain insurers (“Insurers’’), including Chubb Insurance Company of Canada, with whom the
Debtors have policies. Jackson Lewis requests to seek to continue such compensation and
reimbursement of expenses consistent with the terms of any applicable insurance policies or
other agreements and/or arrangements with the Debtors and Jackson Lewis. Jackson Lewis
will submit invoices to applicable Insurers as it has done in the past consistent with such
practices, including any previously agreed upon billing rates between the Insurers and Jackson
Lewis. Jackson Lewis intends to seek compensation and reimbursement from the Insurers
with respect to those amounts that were outstanding as of the Petition Date.

19. No promises have been received by Jackson Lewis or by any member or
professional thereof as to compensation in connection with its representation of the Debtors in
these cases other than as set forth in the Application.

20. Jackson Lewis has no agreement with any entity to share any compensation

received by Jackson Lewis.

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21.1 declare under penalty of perjury that the foregoing is true and correct to
the best of my knowledge.

Executed on February 12, 2009
New Orleans, Louisiana, Parish of Orleans

Tact

/ RENE E. THORNE

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SCHEDULE 1

Current clients of Jackson Lewis LLP who are or may be creditors or parties in interest or
affiliates of creditors or parties in interest of the Debtors:

ACE USA

AIG Commercial Insurance Company of
Canada

Alcatel-Lucent

Allen & Overy LLP

Allied World Assurance Company Ltd
Alltel (ACT)

Ameriprise Financial Services, Inc.
Amphenol

AMX (American Express)

Andrew Corporation

Arch Insurance Company

AT&T

AT&T

Atmos Energy

Bank of New York/Barclays

Bank of New York/LDSEG

Bank of New York/London

Bank of New York/Prudential

Bank of New York/TD BK

Beeline (Beeline Group)

BNY-SBL/PB

BT Americas Inc

Charles Schwab & Co., Inc.

Chubb Insurance Company of Canada
Cigna

Citibank

Citibank, NA

Citigroup

Citigroup Global Markets, Inc. or Citigroup
Financial Services Corp.

Citigroup Global Markets, Inc./Salomon
Brothers

Citigroup Global Markets, Inc./Salomon
Brothers

Citigroup NA

Citigroup Private Bank & Trust

City of Durham

City of Santa Clara

Computer Science Corp. (Computer
Sciences Corp)

Cox Communications

Credit Suisse Securities (USA)

Credit Suisse Securities (USA), LLC
Deutsche Bank

Deutsche Bank Securities

Deutsche Bank Securities, Inc.

Dreyfus Government Cash Management
Fund (Mellon Bank/Dreyfus)

Duke Realty Ohio

Duke Realty Ohio

E*Trade Capital Markets, LLC

E*Trade Cleary, LLC

Emerson (Emerson Electric)

Federal Insurance Company (Chubb)
Fidelity Treasury Portfolio Fund (Fidelity
Investments Corp)

Flextronics

Flextronics

Flextronics America LLC

Flextronics Manufacturing Mex SA de CV
Goldman Sachs & Co.

Goldman Sachs & Co.

Goldman Sachs Execution & Clearing, LP
Goldman Sachs International Limited
Great American Insurance Group

H&R Block

Hartford Fire Insurance Company
Hiscox Syndicate

IBM

JP Morgan — awaiting confirmation from LL
that account closed

JP Morgan Chase Bank, National
Association
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JP Morgan Chase Bank, National
Association

JP Morgan Chase/JP Morgan International
JP Morgan Clearing Corp.

JP Morgan International

JP Morgan Securities Inc./Fixed Income
JP Morgan Securities, Inc.

JPM/CCS2

JPM/GS CAP

Juniper Networks, Inc.

Keybank National Association
Lehman Brothers, Inc.

Level 3 Communications LLC

Liberty International Underwriters Canada
LPL Financial Corporation
MBY/DBTC Americas/Deutsche Bank
London Prime

McCann Erickson San Francisco
(Interpublic Group - Parent)

Mellon Trust of New England

Mellon Trust of New England, NA
Micron

National City Bank

National Grid

National Grid — Massachusetts
National Grid - Melville

NEC

Northern Trust Company

Ogilvy Renault LLP

Pershing, LLC

PNC Bank N.A.

PNC Bank, NA

Polycom

RBC Capital Markets Corporation
RBC Dominion Securities Inc
Reckson Operating Partnership
Reserve Primary Fund (The Reserve)
Sanmina SCI Corporation

Shenyang Nortel Telecommunications
Company Limited

Siemens Enterprise

Siemens Networks

Sony Ericsson Mobile Communications
A.B.

Sprint Nextel

SSB&T Co.

SSBIBT/BGI

SSB-SPDR’S

SSBT/IBT

SSB-Trust Custody

State Street Bank & Trust Co.

State Street Bank & Trust Co./IBT
State Street Bank and Trust Company
Sun Microsystems

Suntrust Bank

Suntrust Bank

Tech Data Corp.

Telrad Networks Ltd. (Telrad Connegy)
Texas Instruments Incorporated

The Bank of New York Mellon

The Bank of New York Mellon

The Northern Trust Company
Travelers Guarantee Company of Canada
UBS

UBS Financial Services, Inc.

UBS Securities, LLC

UBS Securities, LLC

Verizon

Verizon New York, Inc.

Wachovia Bank, NA

Wachovia Capital Markets, LLC
Wachovia Securities, LLC

Wells Fargo Bank, National Association
XL Insurance (Bermuda) Ltd

XL Insurance Company Limited
Zurich Insurance Company
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SCHEDULE 1

Current clients of Jackson Lewis LLP who are or may be creditors or parties in interest or
affiliates of creditors or parties in interest of the Debtors:

ACE USA

AIG Commercial Insurance Company of
Canada

Alcatel-Lucent

Allen & Overy LLP

Allied World Assurance Company Ltd
Alltel (ACD

Ameriprise Financial Services, Inc.
Amphenol

AMX (American Express)

Andrew Corporation

Arch Insurance Company

AT&T

AT&T

Atmos Energy

Bank of New York/Barclays

Bank of New York/LDSEG

Bank of New York/London

Bank of New York/Prudential

Bank of New York/TD BK

Beeline (Beeline Group)

BNY-SBL/PB

BT Americas Inc

Charles Schwab & Co., Inc.

Chubb Insurance Company of Canada
Cigna

Citibank

Citibank, NA

Citigroup

Citigroup Global Markets, Inc. or Citigroup
Financial Services Corp.

Citigroup Global Markets, Inc./Salomon
Brothers

Citigroup Global Markets, Inc./Salomon
Brothers

Citigroup NA

Citigroup Private Bank & Trust

City of Durham

City of Santa Clara

Computer Science Corp. (Computer
Sciences Corp)

Cox Communications

Credit Suisse Securities (USA)

Credit Suisse Securities (USA), LLC
Deutsche Bank

Deutsche Bank Securities

Deutsche Bank Securities, Inc.

Dreyfus Government Cash Management
Fund (Mellon Bank/Dreyfus)

Duke Realty Ohio

Duke Realty Ohio

E*Trade Capital Markets, LLC

E*Trade Cleary, LLC

Emerson (Emerson Electric)

Federal Insurance Company (Chubb)
Fidelity Treasury Portfolio Fund (Fidelity
Investments Corp)

Flextronics

Flextronics

Flextronics America LLC

Flextronics Manufacturing Mex SA de CV
Goldman Sachs & Co.

Goldman Sachs & Co.

Goldman Sachs Execution & Clearing, LP
Goldman Sachs International Limited
Great American Insurance Group

H&R Block

Hartford Fire Insurance Company
Hiscox Syndicate

IBM

JP Morgan — awaiting confirmation from LL
that account closed

JP Morgan Chase Bank, National
Association
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JP Morgan Chase Bank, National
Association

JP Morgan Chase/JP Morgan International
JP Morgan Clearing Corp.

JP Morgan International

JP Morgan Securities Inc./Fixed Income
JP Morgan Securities, Inc.

JPM/CCS2

JPM/GS CAP

Juniper Networks, Inc.

Keybank National Association
Lehman Brothers, Inc.

Level 3 Communications LLC

Liberty International Underwriters Canada
LPL Financial Corporation
MBY/DBTC Americas/Deutsche Bank
London Prime

McCann Erickson San Francisco
(Interpublic Group - Parent)

Mellon Trust of New England

Mellon Trust of New England, NA
Micron

National City Bank

National Grid

National Grid — Massachusetts
National Grid - Melville

NEC

Northern Trust Company

Ogilvy Renault LLP

Pershing, LLC

PNC Bank N.A.

PNC Bank, NA

Polycom

RBC Capital Markets Corporation
RBC Dominion Securities Inc
Reckson Operating Partnership
Reserve Primary Fund (The Reserve)
Sanmina SCI Corporation

Shenyang Nortel Telecommunications
Company Limited

Siemens Enterprise

Siemens Networks

Sony Ericsson Mobile Communications
A.B.

Sprint Nextel

SSB&T Co.

SSBIBT/BGI

SSB-SPDR’S

SSBT/IBT

SSB-Trust Custody

State Street Bank & Trust Co.

State Street Bank & Trust Co./IBT
State Street Bank and Trust Company
Sun Microsystems

Suntrust Bank

Suntrust Bank

Tech Data Corp.

Telrad Networks Ltd. (Telrad Connegy)
Texas Instruments Incorporated

The Bank of New York Mellon

The Bank of New York Mellon

The Northern Trust Company
Travelers Guarantee Company of Canada
UBS

UBS Financial Services, Inc.

UBS Securities, LLC

UBS Securities, LLC

Verizon

Verizon New York, Inc.

Wachovia Bank, NA

Wachovia Capital Markets, LLC
Wachovia Securities, LLC

Wells Fargo Bank, National Association
XL Insurance (Bermuda) Ltd

XL Insurance Company Limited
Zurich Insurance Company
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SCHEDULE 2

Former clients of Jackson Lewis LLP who are or may be creditors or parties in interest or
affiliates of creditors or parties in interest of the Debtors:

Allianz Global Risks US Insurance Company
Astec

Banc of America Securities, LLC

Banc of America Securities, LLC

Bank of America

Bank of America/La Salle

Bell Micro

British Telecom

Citadel Derivatives Group, LLC or Citidel Trading Group, LLC
Comcast

Continental Casualty Company

Duke Energy Company

Ernst & Young Inc.

FPL (Florida Power Corporation)

Harris Corporation

Hewlett Packard

Hewlett Packard

Hewlett Packard Financial Services
Hitachi Cable

ITC

JDS Uniphase Corporation

Johnson Controls Incorporated

Kuehne & Nagel International AG

MCI

Merrill Lynch Pierce Fenner & Smith Inc.
Morgan Stanley

Morgan Stanley & Co Inc./Retail
Morgan Stanley & Co.

Morgan Stanley & Co. Inc.

Motorola

Motorola

Motorola

Motorola Corporation

MTS Allstream Inc.

Tellabs, Inc.

The Bank of Tokyo-Mitsubishi UFJ, Ltd.
The Bank of Tokyo-Mitsubishi UFJ, Ltd.
Union Bank of California
